Court of Appeals
of the State of Georgia

                                        ATLANTA,____________________
                                                 August 21, 2024

The Court of Appeals hereby passes the following order:

A25A0202. BILLY GREG PRUITT v. THE STATE.

      In November 2015, Billy Greg Pruitt pleaded guilty to aggravated assault and
other crimes. He was sentenced to a total of 25 years, with the first 8 years suspended
upon entry into and successful completion of a residential substance abuse treatment
program, and the balance on probation. On May 20, 2024, the trial court revoked
Pruitt’s probation. He then filed this direct appeal from the revocation order. We,
however, lack jurisdiction.
      An appeal from a probation revocation order must be made by application for
discretionary appeal. See OCGA § 5-6-35 (a) (5). “Compliance with the discretionary
appeals procedure is jurisdictional.” Smoak v. Dept. of Human Resources, 221 Ga. App.
257, 257 (471 SE2d 60) (1996). Accordingly, Pruitt’s failure to follow the proper
procedure deprives us of jurisdiction over this direct appeal, which is hereby
DISMISSED.

                                        Court of Appeals of the State of Georgia
                                          Clerk’s Office, Atlanta,____________________
                                                                      08/21/2024
                                                   I certify that the above is a true extract from
                                        the minutes of the Court of Appeals of Georgia.
                                                  Witness my signature and the seal of said court
                                        hereto affixed the day and year last above written.


                                                                                          , Clerk.
